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 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF OREGON
                                                                EUGENE DIVISION


                In Re:                                                                          §
                                                                                                §
                DENNIS LEE BISHOP                                                               §           Case No. 6:15-63626-TMR
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                10/29/2015. The undersigned trustee was appointed on 10/29/2015.

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             192,233.60

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                         0.00
                                                  disbursement
                                                  Administrative expenses                                                          5,591.95
                                                  Bank service fees                                                                2,380.12
                                                  Other payments to creditors                                                          0.00
                                                  Non-estate funds paid to 3rd Parties                                                 0.00
                                                  Exemptions paid to the debtor                                                        0.00
                                                  Other payments to the debtor                                                         0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $             184,261.53

                 The remaining funds are available for distribution.
          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 03/10/2016 and the
      deadline for filing governmental claims was 04/26/2016. All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $12,861.68. To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $0.00 as interim compensation and now requests a sum of
      $12,861.68, for a total compensation of $12,861.682. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $0.00, and now requests
      reimbursement for expenses of $29.40, for total expenses of $29.402.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 03/24/2020                                     By:/s/Jeanne E. Huffman
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                   FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                ASSET CASES
                                                                                                                                                    Exhibit A
Case No:             15-63626            TMR       Judge:     Thomas M. Renn                 Trustee Name:                       Jeanne E. Huffman
Case Name:           DENNIS LEE BISHOP                                                       Date Filed (f) or Converted (c):    10/29/2015 (f)
                                                                                             341(a) Meeting Date:                12/04/2015
For Period Ending:   03/24/2020                                                              Claims Bar Date:                    03/10/2016


                           1                                       2                    3                     4                     5                    6

                  Asset Description                           Petition/            Est Net Value      Property Formally         Sale/Funds           Asset Fully
      (Scheduled and Unscheduled (u) Property)              Unscheduled         (Value Determined        Abandoned              Received by        Administered
                                                              Values             by Trustee, Less        OA=554(a)               the Estate            (FA)/
                                                                                Liens, Exemptions,                                                 Gross Value of
                                                                                 and Other Costs)                                                 Remaining Assets

  1. Cash on hand                                                       10.00                  0.00                                        0.00                FA
  2. Columbia Bank - Business Checking                                   0.00                  0.00                                        0.00                FA
  3. Oregon Community Credit Union - Checking                          100.00                  0.00                                        0.00                FA

  4. Oregon Community Credit Union - Savings                             5.00                  0.00                                        0.00                FA
  5. Household Goods and Furniture                                     500.00                  0.00                                        0.00                FA
  6. Clothing                                                          300.00                  0.00                                        0.00                FA
  7. Jewelry                                                            50.00                  0.00                                        0.00                FA
  8. Boat- Blue Horizon (US Doc. No. 163508, Gross                465,000.00            444,291.00                                   10,000.00                 FA
     tona

     EXEMPTION - VEH 3675 OBJ'D, TOOLS 2300,
     WILDCARD 12,610; OBJ'D TO VEH
     EXEMPTION; EXEMPTION NOT VALID SINCE
     LLC ASSET; SOLD 9/22/16 FOR $10,000
  9. INSURANCE CLAIM FOR DAMAGES                                         0.00            47,625.00                                   47,625.00                 FA
        (u)

     9/9/16 OFFER OF COMPROMISE ON OLD
     CLAIM $62,625 LESS DEDUCTIBLE $15,000 =
     $47,625
 10. ADVERSARY PROCEEDING (u)                                            0.00           157,475.00                                  134,608.60                 FA

     10/18/16 ADVERSARY PROCEEDING AGAINST
     WIFE, ANGELA BISHOP $131,600 AND SON,
     CAMERON BISHOP $25,875 FOR PROPERTY
     AND MONIES TRANSFERED BY DEBTOR
     FROM LLC; ALL FUNDS REC'VD FOR ANGELA
     BISHOP, REMAINING BALANCE IS CAMERON
     BISHOP JUDGMENT, ABANDON AT CLOSING
     AS UNCOLLECTIBLE, NO JOB AND LIVES
     WITH PARENTS


                                                                                                                                 Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                             $465,965.00           $649,391.00                                  $192,233.60               $0.00
                                                                                                                                 (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  EXT OBJ PERIOD 5/2/16; POC 3/10/16; 12/17/15 - HIRED LIQUIDATOR TO SELL BOAT;7/1/16 ADVSY TO DENY DISCHARGE;
  8/18/16 ORDER DENYING DISCHARGE; 8/25/16 ORDER CONSOLIDATING LLC W/DEBTOR CASE; 9/9/16 SETTLE/COMP INS
  CLAIM FOR BOAT DAMAGES; 9/22/16 SOLD BOAT; 10/18/16 ADVSY FILED AGAINST WIFE & SON FOR PREF TRSF FROM LLC;
  COLLECTING ON JUDGMENT THRU GARNISHMENT; ATTEMPTING TO SELL JUDGMENT; FILED ANOTHER90 DAY
  GARNISHMENT ON WIFE'S WAGES 9/2018; 10/2/18 HIRED ACCOUNTANT FOR ADDITIONAL TAX PREP; FILED2017 TAXES;
  WAITING FOR 2018 TAXES; NEED TO RESERVE JUDGMENT AND CLOSE; 9/1/19 REC'VD CALL FROM WESTERN TITLE ABOUT
  JUDGMENT PAYOFF FOR REAL PROPERTY SALE IN NEWPORT;10/2/19 PAYOFF SENT TO TITLE WITH INTEREST; WILL NEED
  2019 TAXES AND TO RESERVE REMAINING JUDGMENT AGAINST SON CAMERON;10/14/19 FILED AMENDED ACCOUNTANTS
  APP; ABANDONING REMAINING JUDGMENT AS UNCOLLECTIBLE, SON DOES NOT WORK LIVES WITH DEBTORS; 2/5/20 NEED
  FINAL 2019 TAX PREP AND PROFESSIONAL POC'S; 2/25/20 2019 FINAL TAX RETURNS COMPLETED; NEED ACCOUNTANT POC;
  3/3/20 SIGNED AND MAILED 2019 FINAL TAX RETURNS; 3/25/20 sent email to accountant for POC, FILED 3/26/20


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Initial Projected Date of Final Report (TFR): 06/30/2015   Current Projected Date of Final Report (TFR): 04/30/2020
                                                                                                                      Exhibit A




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                                                                     FORM 2
                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                             Trustee Name: Jeanne E. Huffman                   Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                      Bank Name: Union Bank
                                                                                                Account Number/CD#: XXXXXX7662
                                                                                                                          Checking
  Taxpayer ID No: XX-XXX6420                                                             Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                            Separate Bond (if applicable):


     1              2                    3                                   4                                             5                  6                  7

Transaction     Check or       Paid To / Received From           Description of Transaction          Uniform Tran.   Deposits ($)      Disbursements ($)    Account/CD
   Date         Reference                                                                                Code                                               Balance ($)
 09/26/16                   LARRY OXMAN                  N/E ASSETS                                                        $7,000.00                            $7,000.00
                            ASSET MANAGEMENT
                            SPECIALISTS INC
                            POB 42491
                            PORTLAND, OR 97242
                                                         Gross Receipts                $10,000.00

                            PORT OF NEWPORT              MOORAGE FEES                  ($3,000.00)    2410-000
                            600 SE BAY BLVD
                            NEWPORT OR 97365
                    8                                    Boat- Blue Horizon            $10,000.00     1129-000
                                                         (US Doc. No.
                                                         163508, Gross tona
 10/04/16          101      LARRY OXMAN                  LIQUIDATOR                                                                           $2,515.85         $4,484.15
                            ASSET MANAGEMENT             COMM/EXP
                            SPECIALISTS INC
                            POB 42491
                            PORTLAND, OR 97242
                            LARRY OXMAN                  LIQUIDATOR                    ($1,500.00)    3610-000
                                                         COMM/EXP
                            LARRY OXMAN                  LIQUIDATOR                    ($1,015.85)    3620-000
                                                         COMM/EXP
 11/14/16           9       HARLOCK MURRAY      SETTLEMENT                                            1249-000            $23,812.50                          $28,296.65
                            UNDERWRITING LTD    PAYMENT
                            701-890 W PENDER ST
                            VANCOUVER BC V7C1J9
 11/14/16           9       SUNDERLAND MARINE            SETTLEMENT                                   1249-000            $23,812.50                          $52,109.15
                            MUTUAL INS CO LTD            PAYMENT

 11/25/16                   Union Bank                   Bank Service Fee                             2600-000                                    $15.00      $52,094.15
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 11/30/16          101      LARRY OXMAN                  LIQUIDATOR                                                                         ($2,515.85)       $54,610.00
                            ASSET MANAGEMENT             COMM/EXP
                            SPECIALISTS INC              Reversal
                            POB 42491
                            PORTLAND, OR 97242
                            LARRY OXMAN                  LIQUIDATOR                     $1,500.00     3610-000
                                                         COMM/EXP
                            LARRY OXMAN                  LIQUIDATOR                     $1,015.85     3620-000
                                                         COMM/EXP
 11/30/16          102      LARRY OXMAN                  LIQUIDATOR                                                                           $2,515.85       $52,094.15
                            ASSET MANAGEMENT             COMM/EXP
                            SPECIALISTS INC
                            POB 42491
                            PORTLAND, OR 97242
                            LARRY OXMAN                  LIQUIDATOR                    ($1,500.00)    3610-000
                                                         COMM/EXP
                            LARRY OXMAN                  LIQUIDATOR                    ($1,015.85)    3620-000
                                                         COMM/EXP




                                                                                 Page Subtotals:                          $54,625.00          $2,530.85

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                                                                     FORM 2
                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                            Trustee Name: Jeanne E. Huffman                       Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                     Bank Name: Union Bank
                                                                                                Account Number/CD#: XXXXXX7662
                                                                                                                          Checking
  Taxpayer ID No: XX-XXX6420                                                             Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                            Separate Bond (if applicable):


     1              2                    3                                   4                                             5                    6                   7

Transaction     Check or       Paid To / Received From           Description of Transaction        Uniform Tran.     Deposits ($)        Disbursements ($)     Account/CD
   Date         Reference                                                                              Code                                                    Balance ($)
 12/27/16                   Union Bank                   Bank Service Fee                            2600-000                                        $44.19      $52,049.96
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 01/25/17                   Union Bank                   Bank Service Fee                            2600-000                                        $77.81      $51,972.15
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 02/07/17          10       OSCU                         GARNISHMENT ON                              1241-000              $1,882.13                             $53,854.28
                            POB 306                      JUDGMENT
                            CORVALLIS OR 97339-
                            0306
 02/07/17          10       OCCU                         GARNISHMENT ON                              1241-000                  $153.42                           $54,007.70
                                                         JUDGMENT
 02/27/17                   Union Bank                   Bank Service Fee                            2600-000                                        $77.34      $53,930.36
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 03/27/17                   Union Bank                   Bank Service Fee                            2600-000                                        $71.81      $53,858.55
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 04/03/17          103      INTERNATIONAL         BOND #016027975                                    2300-000                                        $42.88      $53,815.67
                            SURETIES LTD
                            701 POYDRAS ST, SUITE
                            420
                            NEW ORLEANS LA 70139
 04/25/17                   Union Bank                   Bank Service Fee                            2600-000                                        $80.14      $53,735.53
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 05/08/17          10       SAMARITAN HEALTH             GARNISHMENT ON                              1241-000                   $45.61                           $53,781.14
                            SERVICES                     JUDGMENT
                            POB 3000
                            CORVALLIS OR 97339-
                            3000
 05/22/17          10       SAMARITAN HEALTH      GARNISHMENT ON                                     1241-000                  $259.47                           $54,040.61
                            SERVICES              JUDGMENT
                            C/O PROFESSIONAL
                            CREDIT SERVICE
                            PO BOX 7548
                            SPRINGFIELD, OR 97475
 05/25/17                   Union Bank                   Bank Service Fee                            2600-000                                        $77.40      $53,963.21
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 06/26/17                   Union Bank                   Bank Service Fee                            2600-000                                        $80.00      $53,883.21
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 07/25/17                   Union Bank                   Bank Service Fee                            2600-000                                        $77.60      $53,805.61
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)



                                                                                 Page Subtotals:                           $2,340.63                $629.17

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                                                                     FORM 2
                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                            Trustee Name: Jeanne E. Huffman                     Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                     Bank Name: Union Bank
                                                                                                Account Number/CD#: XXXXXX7662
                                                                                                                          Checking
  Taxpayer ID No: XX-XXX6420                                                             Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                            Separate Bond (if applicable):


     1              2                    3                                   4                                             5                  6                   7

Transaction     Check or       Paid To / Received From           Description of Transaction        Uniform Tran.     Deposits ($)      Disbursements ($)     Account/CD
   Date         Reference                                                                              Code                                                  Balance ($)
 08/25/17                   Union Bank                   Bank Service Fee                            2600-000                                      $80.06      $53,725.55
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 09/25/17                   Union Bank                   Bank Service Fee                            2600-000                                      $79.94      $53,645.61
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 10/25/17                   Union Bank                   Bank Service Fee                            2600-000                                      $77.25      $53,568.36
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 11/27/17                   Union Bank                   Bank Service Fee                            2600-000                                      $79.71      $53,488.65
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 12/26/17                   Union Bank                   Bank Service Fee                            2600-000                                      $77.03      $53,411.62
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 01/25/18                   Union Bank                   Bank Service Fee                            2600-000                                      $79.48      $53,332.14
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 02/26/18                   Union Bank                   Bank Service Fee                            2600-000                                      $79.36      $53,252.78
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 03/26/18                   Union Bank                   Bank Service Fee                            2600-000                                      $71.58      $53,181.20
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 04/02/18          104      INTERNATIONAL         Ch7 Blank Bond                                     2300-000                                      $13.26      $53,167.94
                            SURETIES LTD          Region 18 - 2018
                            701 POYDRAS ST, SUITE
                            420
                            NEW ORLEANS LA 70139
 04/25/18                   Union Bank                   Bank Service Fee                            2600-000                                      $79.13      $53,088.81
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 05/25/18                   Union Bank                   Bank Service Fee                            2600-000                                      $76.45      $53,012.36
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 06/25/18                   Union Bank                   Bank Service Fee                            2600-000                                      $78.88      $52,933.48
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 07/25/18                   Union Bank                   Bank Service Fee                            2600-000                                      $76.23      $52,857.25
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)




                                                                                 Page Subtotals:                               $0.00              $948.36

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                                                                     FORM 2
                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                            Trustee Name: Jeanne E. Huffman                      Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                     Bank Name: Union Bank
                                                                                                Account Number/CD#: XXXXXX7662
                                                                                                                          Checking
  Taxpayer ID No: XX-XXX6420                                                             Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                            Separate Bond (if applicable):


     1              2                    3                                   4                                              5                  6                   7

Transaction     Check or       Paid To / Received From           Description of Transaction        Uniform Tran.     Deposits ($)       Disbursements ($)     Account/CD
   Date         Reference                                                                              Code                                                   Balance ($)
 08/27/18                   Union Bank                   Bank Service Fee                            2600-000                                       $78.65      $52,778.60
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 09/25/18                   Union Bank                   Bank Service Fee                            2600-000                                       $78.54      $52,700.06
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 10/25/18                   Union Bank                   Bank Service Fee                            2600-000                                       $75.89      $52,624.17
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 11/26/18                   Union Bank                   Bank Service Fee                            2600-000                                       $78.30      $52,545.87
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 12/26/18                   Union Bank                   Bank Service Fee                            2600-000                                       $75.67      $52,470.20
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 01/25/19                   Union Bank                   Bank Service Fee                            2600-000                                       $78.08      $52,392.12
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 02/25/19                   Union Bank                   Bank Service Fee                            2600-000                                       $77.96      $52,314.16
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 03/25/19                   Union Bank                   Bank Service Fee                            2600-000                                       $70.32      $52,243.84
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 04/03/19          105      INTERNATIONAL         Bond #016027975                                    2300-000                                       $19.96      $52,223.88
                            SURETIES LTD
                            701 POYDRAS ST, SUITE
                            420
                            NEW ORLEANS LA 70139
 04/25/19                   Union Bank                   Bank Service Fee                            2600-000                                       $77.73      $52,146.15
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 05/28/19                   Union Bank                   Bank Service Fee                            2600-000                                       $75.10      $52,071.05
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 06/25/19                   Union Bank                   Bank Service Fee                            2600-000                                       $77.49      $51,993.56
                                                         under 11 U.S.C. §
                                                         330(a)(1)(B), 503(b)
                                                         (1), and 507(a)(2)
 10/21/19          10       WESTERN TITLE &      payment on                                          1241-000             $132,267.97                          $184,261.53
                            ESCROW COMPANY       judgment/note
                            255 SW COAST HWY STE
                            100
                            NEWPORT OR 97365



                                                                                 Page Subtotals:                          $132,267.97              $863.69

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                                                                     FORM 2
                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                           Trustee Name: Jeanne E. Huffman                     Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                    Bank Name: Union Bank
                                                                                               Account Number/CD#: XXXXXX7662
                                                                                                                         Checking
  Taxpayer ID No: XX-XXX6420                                                            Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                           Separate Bond (if applicable):


     1              2                    3                                   4                                             5                  6                  7

Transaction     Check or       Paid To / Received From          Description of Transaction         Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD
   Date         Reference                                                                              Code                                                 Balance ($)
 11/27/19                   Transfer to Acct #           Transfer of Funds                          9999-000                               $184,261.53               $0.00
                            xxxxxx5573



                                                                             COLUMN TOTALS                               $189,233.60       $189,233.60
                                                                                   Less: Bank Transfers/CD's                   $0.00       $184,261.53
                                                                             Subtotal                                    $189,233.60          $4,972.07
                                                                                   Less: Payments to Debtors                   $0.00               $0.00
                                                                             Net                                         $189,233.60          $4,972.07




                                                                                 Page Subtotals:                               $0.00       $184,261.53

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                                                                       FORM 2
                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-63626                                                                           Trustee Name: Jeanne E. Huffman                     Exhibit B
         Case Name: DENNIS LEE BISHOP                                                                    Bank Name: Axos Bank
                                                                                               Account Number/CD#: XXXXXX5573
                                                                                                                         Checking
  Taxpayer ID No: XX-XXX6420                                                            Blanket Bond (per case limit): $59,128,572.00
For Period Ending: 03/24/2020                                                           Separate Bond (if applicable):


     1              2                    3                                   4                                             5                  6                  7

Transaction     Check or      Paid To / Received From           Description of Transaction         Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD
   Date         Reference                                                                              Code                                                 Balance ($)
 11/27/19                   Transfer from Acct #         Transfer of Funds                          9999-000             $184,261.53                         $184,261.53
                            xxxxxx7662



                                                                             COLUMN TOTALS                               $184,261.53               $0.00
                                                                                   Less: Bank Transfers/CD's             $184,261.53               $0.00
                                                                             Subtotal                                          $0.00               $0.00
                                                                                   Less: Payments to Debtors                   $0.00               $0.00
                                                                             Net                                               $0.00               $0.00




                                                                                 Page Subtotals:                         $184,261.53               $0.00

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                                                                                                                              Exhibit B
                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                              NET              ACCOUNT
                                                                               NET DEPOSITS      DISBURSEMENTS                 BALANCE
                               XXXXXX5573 - Checking                                     $0.00               $0.00            $184,261.53
                               XXXXXX7662 - Checking                               $189,233.60            $4,972.07                 $0.00
                                                                                   $189,233.60            $4,972.07           $184,261.53

                                                                              (Excludes account (Excludes payments Total Funds on Hand
                                                                                      transfers)         to debtors)
                               Total Allocation Receipts:        $3,000.00
                               Total Net Deposits:            $189,233.60
                               Total Gross Receipts:          $192,233.60




                                                            Page Subtotals:                       $0.00               $0.00

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                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 6:15-63626-TMR                                                                                                        Date: March 26, 2020
Debtor Name: DENNIS LEE BISHOP
Claims Bar Date: 3/10/2016


Code #     Creditor Name And Address          Claim Class       Notes                                Scheduled              Claimed            Allowed
           Jeanne E. Huffman                  Administrative                                             $0.00            $12,861.68         $12,861.68
100        JEANNE E. HUFFMAN,
2100       TRUSTEE LLC
           25 SE DORION #129,
           PENDLETON, OR 97801

           Jeanne E. Huffman                  Administrative                                              $0.00               $29.40            $29.40
100        JEANNE E. HUFFMAN,
2200       TRUSTEE LLC
           25 SE DORION #129,
           PENDLETON, OR 97801

5          TERRY DUMAN                        Administrative                                              $0.00            $6,635.00          $6,635.00
100        C/O CASSIE JONES, GLEAVES
2420       SWEARINGEN LLP                                       OK - REIMBURSEMENT OF INS PREMIUM PAID FOR THE ESTATE. SEE SETTLEMENT DOC
           POB 1147                                             #28
           EUGENE, OR 97440


6          LEONARD LAW GROUP LLC              Administrative                                              $0.00           $48,025.00         $48,025.00
100        1 SW COLUMBIA STE 1010
3210       PORTLAND, OR 97258                                   ATTORNEY FEES FOR TRUSTEE




6          LEONARD LAW GROUP LLC              Administrative                                              $0.00            $1,496.40          $1,496.40
100        1 SW COLUMBIA STE 1010
3220       PORTLAND, OR 97258                                   ATTORNEY FOR TRUSTEE, EXPENSES




7          BENNINGTON & MOSHOFSKY             Administrative                                              $0.00            $2,996.00          $2,996.00
100        PC
3410       4800 SW GRIFFITH DR STE 350                          OK - ACCOUNTANT FEES
           BEAVERTON, OR 97005-8716


7          BENNINGTON & MOSHOFSKY             Administrative                                              $0.00                $6.25              $6.25
100        PC
3420       4800 SW GRIFFITH DR STE 350                          OK - ACCOUNTANT EXPENSES
           BEAVERTON, OR 97005-8716


1          IRS PAYMENT                        Unsecured                                                   $0.00                $0.00              $0.00
300        Centralized Insolvency Oper.
7100       PO Box 7317
           Philadelphia, PA 19101-7317


2          TERRY DUMAN                        Unsecured                                             $106,000.00          $121,241.27        $121,241.27
300        C/O CASSIE JONES, GLEAVES
7100       SWEARINGEN LLP                                       OK - GOODS SOLD
           POB 1147
           EUGENE, OR 97440


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                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 6:15-63626-TMR                                                                                                         Date: March 26, 2020
Debtor Name: DENNIS LEE BISHOP
Claims Bar Date: 3/10/2016


Code #     Creditor Name And Address          Claim Class        Notes                                Scheduled              Claimed            Allowed
3          PORT OF NEWPORT                    Unsecured                                                 $678.00            $11,607.05         $11,607.05
300        600 SE BAY BLVD
7100       NEWPORT, OR 97365                                     OK - MOORAGE & DOCK FEES




4          HUTCHINSON COX                     Unsecured                                                    $0.00           $26,326.82         $26,326.82
300        POB 10886
7100       EUGENE, OR 97440                                      OK - ATTY SERVICES




           Case Totals                                                                               $106,678.00          $231,224.87        $231,224.87
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 6:15-63626-TMR
     Case Name: DENNIS LEE BISHOP
     Trustee Name: Jeanne E. Huffman
                         Balance on hand                                              $              184,261.53

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: Jeanne E. Huffman                 $        12,861.68 $              0.00 $        12,861.68
      Trustee Expenses: Jeanne E. Huffman             $               29.40 $           0.00 $               29.40
      Attorney for Trustee Fees: LEONARD
      LAW GROUP LLC                                   $        48,025.00 $              0.00 $        48,025.00
      Attorney for Trustee Expenses: LEONARD
      LAW GROUP LLC                          $                  1,496.40 $              0.00 $           1,496.40
      Accountant for Trustee Fees:
      BENNINGTON & MOSHOFSKY PC                       $         2,996.00 $              0.00 $           2,996.00
      Accountant for Trustee Expenses:
      BENNINGTON & MOSHOFSKY PC                       $                6.25 $           0.00 $                6.25
      Other: TERRY DUMAN                              $         6,635.00 $              0.00 $           6,635.00
                 Total to be paid for chapter 7 administrative expenses               $               72,049.73
                 Remaining Balance                                                    $             112,211.80


               Applications for prior chapter fees and administrative expenses have been filed as follows:




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                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $159,175.14 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 70.5 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                     of Claim              to Date          Payment
     1                    IRS PAYMENT                $              0.00 $             0.00 $              0.00
     2                    TERRY DUMAN                $       121,241.27 $              0.00 $         85,470.01
     3                    PORT OF NEWPORT            $        11,607.05 $              0.00 $          8,182.48
     4                    HUTCHINSON COX             $        26,326.82 $              0.00 $         18,559.31
                 Total to be paid to timely general unsecured creditors                $             112,211.80
                 Remaining Balance                                                     $                    0.00




             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.




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                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




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